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                                                                                                            EXHIBIT
                                                                                                                 1
From:          Glaws, J. Peter
To:            Anthony Alden; Jaclyn Palmerson; Pasquale, Ken; Sasson, Isaac
Cc:            Jahan Raissi; Sascha Rand; John Shaffer; Murphy, Kevin M.; Koch, Leonie; Glaws, J. Peter
Subject:       RE: Silicon Valley Accountants / FTX Debtors and Committee request for documents
Date:          Tuesday, July 25, 2023 12:00:35 PM
Attachments:   image001.png
               image002.png
               image003.png
               image004.png
               image005.png
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Date:                  Wednesday, February 15, 2023 12:02:47 PM
Attachments:           image001.png




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